CaSe 1-16-40104-nh| DOC 8 Filed 01/13/16 Entered 01/13/16 00253217

US BANKRUPTCY COURT

EASTERN DIS'I`RICT OF NEW YORK

 

 

X
In Re:
Case No. 16 ~ 40104-nh1
Chapter 13
Muir, Aixa
Debtor(s).
X
INCOI\IE AFF]])AVIT

 

I, Aixa Muir, the undersigned Debtor herein, swear and aii"lnn as follows:
1. lam self employed as the sole owner of Ludlow Barrett Associates, LLC.
2. I earn about $3,500.00 per month (afcer business expenses) from Ludl<)w Barrett Assoc., LLC.

3. I receive $3,000.00 per month from two (2) separate tenants that pay $1,500.00 each.

 

 

Dated; Wf[//};/QD/ § j
/"
\ \_/
Signature of Debtor

  

day o 1 dow/ariz 2016

Notary Publie7 State of New York

KIVA V. JAMES. ESQ.
awin WiLlc-swz or» NEW vom<
No. 02JA6138035
QuG|\fied ln Kir§s ounty
c

my commzmon imm ergq. 20¢7

